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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                             Criminal Action No. 1:14-cr-66-3

 ERIC HOLT,
        Defendant.

                    OPINION/ REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Eric Holt, in person and by counsel, Belinda Haynie, appeared before me on November 17, 2014.

 The Government appeared by Assistant United States Attorney Shawn Morgan. The Court

 determined that Defendant was prepared to enter a plea of “Guilty” to the lesser-included offense

 from Count Three of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

 were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that a prior plea agreement had been offered to Defendant. That plea agreement called
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 for Defendant to plead to Count Three, which charges him with aiding and abetting the distribution

 of cocaine base within 1,000 feet of a protected location. Counsel for the Government indicated that

 the instant plea agreement was more favorable to Defendant. Defendant confirmed that the instant

 agreement was more favorable and that he had discussed both agreements with his counsel. The

 Court asked counsel for the Government to summarize the written plea agreement. Defendant stated

 that the agreement as summarized by the Government was correct and complied with his

 understanding of the agreement. The Court ORDERED the written plea agreement filed and found

 the requirements of Missouri v. Frye, 132 S. Ct. 1399 (2012) to be satisfied.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

 voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

 the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

 Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

 consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

 by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Eric Holt, only after having had his rights fully explained to him and having a full

 understanding of those rights through consultation with his counsel, as well as through questioning


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 by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant the lesser-included offense from Count Three

 of the Indictment and the elements the Government would have to prove, charging him with aiding

 and abetting the distribution of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),

 and 18 U.S.C. § 2. The undersigned then reviewed with Defendant the statutory penalties applicable

 to an individual adjudicated guilty of the lesser felony charge contained in Count Three of the

 Indictment, the impact of the sentencing guidelines on sentencing in general, and inquired of

 Defendant as to his competency to proceed with the plea hearing. From said review the undersigned

 Magistrate Judge determined Defendant understood the nature of the charges pending against him

 and understood the possible statutory maximum sentence which could be imposed upon his

 conviction or adjudication of guilty on the lesser-included offense from Count Three was

 imprisonment for a term of not more than twenty (20) years; understood that a fine of not more than

 $1,000,000.00 could be imposed; understood that both fine and imprisonment could be imposed;

 understood he would be subject to a period of at least three (3) years of supervised release; and

 understood the Court would impose a special mandatory assessment of $100.00 for the felony

 conviction payable on or before the date of sentencing. Defendant also understood that his sentence

 could be increased if he had a prior firearm offense, violent felony conviction, or prior drug

 conviction. He also understood he might be required by the Court to pay the costs of his

 incarceration and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate rights as follows:




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 Ct.    Do you understand that ordinarily you have the right to appeal your conviction and sentence

        to the Fourth Circuit Court of Appeals provided you give notice of intent to appeal within

        14 days?

 Def.   Yes.

 Ct.    Do you also understand that you may file a writ of habeas corpus type motion under 28

        U.S.C. § 2255 collaterally attacking or challenging the sentence and how it’s being carried

        out?

 Def.   Yes.

 Ct.    Under your plea agreement, you are giving up your right to appeal your conviction and

        sentence, is that correct?

 Def.   Yes, sir.

 Ct.    Under your plea agreement, you’re giving up your right to collaterally attack or challenge the

        sentence and how it’s being carried out by filing that writ of habeas corpus motion, is that

        correct?

 Def.   Yes, sir.

 Ct.    The only rights with respect to your habeas motion that you keep is if after today you

        discover that there’s been some prosecutorial misconduct or some ineffective assistance of

        counsel, is that correct?

 Def.   Yes, sir.

 Ct.    Do you know of any prosecutorial misconduct as you sit here today?

 Def.   No, sir.

 Ct.    Do you know of any ineffective assistance of counsel as you sit here today?


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 Def.   No, sir.

 Ct.    Did you intend to give up your right of appeal and your right of collateral attack as set forth

        in your plea agreement?

 Def.   Yes, sir.

 Ct.    Has anything about your understanding of that paragraph in your agreement changed since

        you signed it and today?

 Def.   No, sir.

        From the foregoing colloquy the undersigned determined that Defendant understood his

 appellate rights and knowingly gave up those rights pursuant to the conditions contained in the

 written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it

 contained the whole of his agreement with the Government and no promises or representations were

 made to him by the Government other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Three

 of the Indictment, the undersigned Magistrate Judge would write the subject Report and



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 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the lesser-included offense charged in Count

 Three of the Indictment. Only after the District Court had an opportunity to review the pre-sentence

 investigation report, would the District Court make a determination as to whether to accept or reject

 any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced him to a sentence which was different from

 that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

 counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

 of guilty accepted.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated his attorney showed him how the advisory guideline chart worked but did not promise

 him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

 could not predict or promise him what actual sentence he would receive from the sentencing judge

 at the sentencing hearing. Defendant further understood there was no parole in the federal system,


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 although he may be able to earn institutional good time, and that good time was not controlled by

 the Court, but by the Federal Bureau of Prisons.

        The parties agreed that the Government would present a proffer to establish an independent

 basis in fact for Defendant’s plea to the lesser-included offense from Count Three. The Government

 proffered that on October 9, 2012, a confidential informant (“CI”) made a digitally recorded

 controlled buy of cocaine base. On that date, co-defendant Joseph Green directed the CI to the

 parking lot of the Dollar General in Clarksburg, West Virginia, within the Northern District of West

 Virginia. Green arrived at the parking lot in a vehicle that was driven by Defendant. The CI

 approached the vehicle, and Green indicated that they would need to take the CI’s money and go get

 the crack cocaine. Green and Defendant drove away with $150.00 in pre-recorded funds. When they

 returned, Green provided the cocaine base to the CI. The substance was lab tested and confirmed

 to contain 0.51 grams of cocaine base.

        Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

  The undersigned United States Magistrate Judge concludes the lesser-included offense charged in

 Count Three of the Indictment are supported by an independent basis in fact concerning each of the

 essential elements of such offense. That independent basis is provided by the Government’s proffer.

        Thereupon, Defendant, Eric Holt, with the consent of his counsel, Belinda Haynie, proceeded

 to enter a verbal plea of GUILTY to the lesser-included offense charged in Count Three of the

 Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily


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 consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

 the charges against him, not only as to the Indictment as a whole, but in particular as to the lesser-

 included offense contained in Count Three of the Indictment; Defendant understood the

 consequences of his plea of guilty, in particular the maximum statutory penalty to which he would

 be exposed for the lesser-included offense from Count Three; Defendant made a knowing and

 voluntary plea of guilty to the lesser-included offense charged in Count Three of the Indictment; and

 Defendant’s plea is independently supported by the Government’s proffer which provides, beyond

 a reasonable doubt, proof of each of the essential elements of the charge to which Defendant has pled

 guilty.

           The undersigned Magistrate Judge therefore RECOMMENDS Defendant’s plea of guilty

 to the lesser-included offense from Count Three of the Indictment herein be accepted conditioned

 upon the Court’s receipt and review of this Report and Recommendation.

           The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

           Subsequent to the change of plea hearing, counsel for Defendant presented the Court with

 a copy of Defendant’s paystub. Counsel proffered that on his financial affidavit, Defendant had

 included his net pay rather than his gross pay. Upon review of Defendant’s paystub, the undersigned

 finds that after living expenses, primary deductions, and child support deductions, Defendant has

 approximately $1,500.00 remaining for other expenses and/or for reimbursement of the fees of court-

 appointed counsel. Accordingly, the undersigned RECOMMENDS that the District Judge consider

 whether Defendant should be required to reimburse the costs of court-appointed counsel over time.

           Defendant is released pursuant to the Order Setting Conditions of Release previously entered.


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        Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will

 result in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

 cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 17th day of November, 2014.

                                                      John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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